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                                   UNITED STATES DISTRICT CO URT
                              FO R THE SOUTHERN DISTRICT O F FLO RIDA
                               W ilkie D.Ferguson,Jr.U.S.Courthouse

 Dr.Rehab Auf,
       Iplaintiff),-V.s-                                        Case No.
 Dr.Edna Greene M edford,Dr.Anthony K.W utoh,
 Dr.W ayne A.I.Frederick,Dr.Robert Catchings,
 And How ard University                                        Jury Trial(YES)
        (Defendants)

                                   CO M PLAINT A ND JURY DEM A ND
There isno othercivilaction betweenthese partiesarisingoutofthe same transaction oroccurrence asalleged in this
complaintpendinginthisCourt,norhastransferredaflerhavingbeenassignedto ajudge.
Pursuantto Rule38ofthe FederalRulesofCivilProcedure,PlaintiffdemandstrialbyjuryinaIIissues.


                                           PARTIES AND VENUE
l-plaintiff,Dr.Rehab Auf,M D,PhD,is a citizen ofthe United States and Iives in M iam i-Dade County,which is
  in thisjudicialdistrict.Therefore,thisCourtvenue isappropriate.Heraddressis:15300 SW 74 PL,Palmetto
  Bay,FL33157Email:AuF.rehab@outlookwcom (PlaintiffrequestsaIIsubmission/contactstobebyemail)
z-Defendant No.1,Dr.Edna Greene M edford,Interim Dean,College ofArtsand Science,How ard University,
  4thand CollegeStreets,NW ,Washington,D.C.20059.E:emedford@ howardaedu IPh:3018076093.
3.Defendant No.2,Dr.Anthony K.W utoh,Provost,How ard University,Suite 306,M ordecaiW yattJohnson
  Building,W ashington,D.C.20059.E:awutoh@ howard.edu IPh:(202)806-2550.
4-Defendant No.3:Dr.W ayne A.I.Frederick,President,HOW ARD UNIVERSITY,2400 Sixth Street NW ,
  W ashington,DC20059.E:Hupresident@ howard.edu 1Ph:202-806-6100.
s-Defendant No.4:Dr.RobertCatchings,Departm entlnterim Chair,HeaIth,Hum an Perform ance & Leisure
  Studies,Room 1011,BurrGym nasium ,Sixth and Girard Streets,NW ,Howard University,W ashington,DC
  20059.E:rcatchinas@howard.edu lPh:202-806-7142.
6-DefendantNo.5:HowardUniversity(Private,federallychartereduniversityinW ashington,D.C)Mordecai
  WyattJohnsonBuilding(AdministrativeBuilding),2400SixthStreetNW,W ashington,DC20059.E:
  Hupresident@howard.edu IPh:202-806-6100.
7-Reservationto Name AdditionalDefendants:In addition to the entitiessetforth asDefendantsherein,
  there are Iikely otherpartiesw ho m ay wellbe Iiable to Plaintiff,butrespecting w hom Plaintiffcurrently
 Iacksspecificfactsto perm itPlaintiffto nam e such person orpersons asa party defendant.By notnam ing
 such personsorentities atthistim e,Plaintiffis notw aiving herrightto am end thispleading to add such
 parties,should the factsw arrantadding such parties,
                                                      1
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                                                 JURISDICTION

 8.Plaintiffbringshercom plaintunderfederaldiversityjurisdiction,28 U.S.C.1332,asthe partiesare
   completely diverse incitizenship andtheam ountin controversyexceeds$75,000.
                                                       FACTS
 9.This isa civilaction broughtby Plaintiffagainst Defendantsw ho,acting individually and acting in
   connection w i
                th others,both known and unknown,conspired and defrauded Plaintiffofm ore than
   $100,000earningsthroughissuinganemploymentoffer,followed byaschemeofintentionaldeceit,
   neglectto theirduty ofcare,and neverallow ed the plaintiffto startw orking.Plaintiffrelationship w ith
   Defendants 1-4 is based on tortand duty ofcare,which they neglected i.e.notcontractual.Asa result,
   How ard University,breached the em ploym entcontractdated August1,2018.Such conduct Ieft Plaintiff
   defrauded ofem ploym entand earnings since August16,2018,in continuous harassm entw ith irreparable
   careerdam agesand otheraccruing dam ages.
10.Howard Universityfacultyhandbook,1993,(The handbook)regulatesappointment& termination
   procedures is available at:https://www.howard.edu/secretarv/documents/HowarduniversitvFacultvHandbook-pdf
  g2.1:âGcontractualForceofliandbookSections2and3 ofthishandbookcontain theapprovedpoliciesand
  proceduresofllowarduniversityconcerningthetermsandconditionsofthefacultyoftheuniversity.Tltesesections
  areincorporatedintotheindividualcontractofemplovmentofeachfacultvmember,and theyaresubjecttochange
  by theBoard ofl- rusteesasconditionsrequire.''j.
11.On February 2018,Dr.Aufapplied to a faculty position atHHPL Departm ent,College ofArtsand Science,
  Howard Universi
                ty(TheUniversity)andwasinterviewedduringthemonthsofApril-May2018.
12. Dr.Aufw as selected fora tenure track associate professorposition by the Departm entChairDr. Roberta
  Hollander& previousDeanBernardMaironJune/2018withdefinedstartdateAugust16,2018.
13.Dr.Hollanderwas rem oved from the chairposition and Dr RobertCatchingsw as appointed an interim
  chair,despite hisacademicbackground isnotrelatedto thedepartmentfocusand program . The University
  appointed Interim Dean Edna Greene M edford.
14.Dr.Aufdiscussed the financialpackage w ith DrM edford & DrCatchingson June 26,18. Both delayed
  respondingbyafinaloffertoAugust.1,18,just2weeksshortfrom startdate(despiterepeatedrequested
  from Dr.Auftosendthefinaloffersooner).
15.Dr.Aufaccepted and returned the offeron August2,18 along w ith the filled Appointm ent, Prom otion &
  Tenure (APT)application,whichwasdefinedinthesaid Ietter.Thetermsofthecontractwerethreeyears
  probationary,then two furtheryearsto allow applying fortenure. Afterw hich,the appointm entbecom es
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   permanent.Thesalarywas$100,00for9monthsperyear,$31.518.95forstartupresearchcost,and
   $10,000forrelocationexpenses.(Exhibit1)
16.Section2.7.2ofTheHandbookdescribesfacultyappointmentprocedure:''.....Anappointmentisnotfinal
   untilJwrittennoticeolappointmenthasbeensentbythepresident(orvicepresidentinthecasesnoted
   abovewherethevicepresidenthusfinulsignatoryauthority)tothecandidutewho,inturn,hasreturned
   asignedacceptancetotheofficialwhosignedit''
17.The appointm entapprovalIetterw asdelayed,therefore Dr.Aufsentseveralrequestsforits receiptand
   urgedDrMedfordtohonortheagreementtobeabletostartintheFall2018asagreed.(Exhibit2)
18.Dr.M edford and Dr.Frederick,jointlyand separately,intentionally neglected to providethe said
   appointm entIetterasThe Handbooks2.7.2 requires before August.16,2018 to enable starting in tim e.
19. On August23,2018 DrM edford stated the appointm entw as approved & officialappointm entIetterw ill
   besentsoonfrom heroffice.(Exhibit3)
20. DrM edford withheld Dr.Auf's officialappointm entIettersigned by the president''TheAppointm ent
  Letter''preventinghertostartworking(andDr.Frederickastherightsignatoryauthority).
21. On Oct.9,2018 DrM edford sent Dr.Aufa Ietterdelaying herstartto January 2019 forpretextual
  reasons.The Ietterm entioned the delay was because she did notstartto work, w hile Dr.Aufcouldn't have
  startedwithoutTheAppointmentLetterwhichisbeingwithheldfrom her.(Exhibit4)
22. Dr.M edford intentionally m isled Dr.Aufby sending a Iettersigned by her,notthe Presidentwho hasthe
  rightsignatory authority pursuantto s2.7.2 ofThe handbook,and m isinform ed plaintiffthatno m ore
  documentation willbeforthcoming to confirm the appointm ent;proving predeterm ined intentionto
  preventDr.Auffrom w orking asshe cannotwork w ithout The Appointm entLettersigned by the president
  pursuantto s2.7.2 ofThe Handbook.(Exhibit4)
23. On Decem ber6,2018,Dr.Aufnotified Dr.Catchingsand Dr.M edford thatshe w illarrive laterthan
  January2,2019,bothdid notobjectorwarnofanyconsequences.
24.On Decem ber7,2018 DrM edford advised postponing the onboarding aftercam pusarrival. (Exhibit5)
25.Dr.M edford sentDr.Aufan em ailrequiring herarrivalatcam pus by January 14,2019.Dr. Aufarrived in
  thedefined date and attended the new facultyorientation.(Exhibit5)
26.DrCatchingsdid notofferDr.Aufofficespace upon arrivalviolatingtheofferletterand refused her
  requestonFebruary8,2019.(Exhibit5)Provingpredetermined intentionnottoallow Plaintifftowork.
27.OnJan16,2019Ms.VictoriaSari,HumanResources(HR)sentDr.Aufanemailrequiringherto''REapply''
  forherapproved position to startthe onboarding process at How ard University. (Exhibi
                                                                                      t6)
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28.The Iink Ied to the HR w ebsite,w here people m ake initialapplication forpositions.
29.TheUniversitydescribestheonboardingprocess:''TheprocessstartswhentheOfficeofHRissuesthe
  candidateanofferIetter,proceedswhenthecandidateattendsthenew hireseminar,andendswhenthe
  new employeereceivestheirfirstpaycheck.'
                                         bavailableat:httpr//hr.howard.edu/onboarding/.Thetextis
  self-explanatory and does notstart by subm itting additionalapplication orinclude itany in part.Therefore,
  the University did notapply the onboarding procedure as prescribed to Plaintiff.
30.Initially,Dr.Aufrequested clarification from Dr.M edford on theonboarding process(purpose and steps)
  onDecember18,2018.(Exhibit5)Dr.Aufrepeatedherrequestforclarificationontheonboardingprocess
  to Dr.M edford on January 16,2019.She did notrespond in both occasions.
31.OnJanuary17,2019,Dr.ThomasFoster(Associatedean)respondedamongotherthings''/understand
   thattheIanguageof''applying''forthepositionmaybeoff-puttingtoyoubutpleasedofollow through
  immediatelywiththeonlineonboardingprocess.''Dr.Fosterdid notofferjustificationto explainwhythis
  application w as m andated,w hile it is in violation ofthe issued onboarding process,The Handbook 2.7.2,
  and agreem entbetw een parties.On January 18,2019 he added am ong otherthings:''Ihave discussed your
  concernswithDeanMedfordandshedoesnotfinditnecessarvtospeakwithyouatthispointregarding
  thisentirely adm inistrative issue.''kDr.M edford recognized the m atterasentirely adm inistrative;proving
  the Iateralleged academ ic negligence isfalsified.Plaintiffm aintainsadm ission ofno w rongdoina.
32.M ore im portantly,ifthism atterw as seriousand would Iead to term ination,DrM edford should have
  clarified the situation & w arned ofpossible term ination in w riting pursuantto The Handbook s2.8.5 A.
33.The Ianguage of'apply''allowsthe possibilitiesto be eitherrejected oraccepted,and ifacceptedthen a
  new/differentoffercouldbeprovided.AfterDr.Aufcommittedherselfto Howard UniversityonAugust
  3,2018,thoseoptionswere alIunjustand in breachofcontracthavingviolated The Handbooks2.7.2 and
  the offerIetterforAugust.2,2018 w hich did notspecify thisapplication.
34.Assuch,Dr.Aufasserted herrightsand inquired aboutthejustificationto the requestto ''REapply'?from
  DrMedford,DrCatchings,DrOkainerDark(Associateprovost)January22,2019,Ms.VictoriaSari(HR)
  January31,2019.(Exhibit6)No justification wasprovided.Dr.Darkorganized thefacultyorientation.
  Therefore,she had a duty ofcare to offerthe requested clarifications.
35. Due to Dr.M edford's Iack ofresponse to Dr.Auf's repeated em ails,plaintiffwentto m eet heron
  February 6,2019.In thism eeting she surprised Dr.Aufby suggesting a term ination processm ightbe
  initiated and she had som eone else teaching herclass,w ithoutgiving reasonsorany opportunity for
  representation orresolution e.g.m eeting w ith Dr.Catchingsto resolve the m atter.



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36.Dr.Medfordinstructed Dr.AuftomeetMr.W illiam Teeling(anattorneyattheUniversity)to resolve
   m atters.Dr.Aufm etM r.W illiam Teeling on February 7,2019.He refused to hearDr.Auf'sdefense,spoke
   in disrespectfulm annerand ended the m eeting.Therefore,Dr.M edford m isdirectDr.Aufto m eethim .
37. Dr.Aufem ailed Dr.M edford on February 8,2019 a defense w ithoutknow ing the actualreasonsfor
   term ination to stop initiating any term ination.Dr.M edford em ailed backw ithin couple ofhourssaying that
   she already subm itted herrecom m endation forterm ination to the Provost.
38. Dr.M edford had a duty to m eetDr.Aufw ith Departm entChair,presentDr.Aufw ith w ritten reasonsfor
   thesoughttermination,and afforded Dr.Aufanopportunityofinform aladjustmentbeforeproceeding
   into term ination pursuantto sections 2.8.5 A,2.8.5.1 B ofThe Handbook.None ofthese opportunities
   were offered to the plaintiff.The factthatDr.Catchings and Dr.M edford intentionally neveroffered
   opportunity to resolve m atters before initiating term ination,indicatesa predeterm ined intention to
   term inate DrAufand neverto allow herto work.
39.Dr.M edford subm itted herrecom mendationforterm inationtothe Provost(Dr.AnthonyW utoh)on
  February7,2019.Thisallowed 17days,from January22,2019,(oreventwo monthsfrom Dr.Auf'sfirst
   inquiryon December7,2018),afterDr.Aufrequestedtheregulationstojustifytherequestto''apply''and
   the issued procedure ofthe onboarding,w hich w ould have resolved the situation before the Dean's
   recom m endationsw ere subm itted.Dr.M edford intentionally neglected herduty ofcare to plaintiff.
40.Dr.W utoh sentthe plaintiffa letterto definethe reasonsto initiatetheterm ination (afteritwasalready
   initiated).Itstatedthattheterminationissoughtforacademicnegligence.(Exhibit7)
41. Dr.W utoh m andated Dr.Atlfto m eethim on February 14,2019.Dr.Aufsentw ritten representation
   (Exhibit8)statingshedidnotreceiveTheAppointmentLetterbythepresidentthereforecouldnotstart,
  therefore no academ ic negligence can be alleged.She confirm ed thatthe HR w rongly asked herto ''apply''
  forherapproved position,since this is notpartofthe onboarding process.She explained the unfairnessof
   Dr.Catchingsto herin assigning academ ic duties.Dr.Aufrequested the issued onboarding process,
  justification forthe requestto ''apply''#ifany& an opportunityforinform aladjustmentpursuantto
  s2.8.5.18 ofThe Handbook before furtherproceeding.
42. On M arch 6,2019 DrW utoh sent Dr.Aufa Ietterstating thatthe president m ade prelim inary term ination
  decision,signedbyhim (notthepresident).(Exhibit9)Dr.Aufwasnevergiventhedecisionmadebythe
  presidentto understand itsgrounds considering herIatestrepresentation.
43.Plaintiffw as notgiven the reasons forw hich the prelim inary term ination wasdecided afterherdefense.
  Therefore,sherequestedsuch reasonsfrom Dr.W utoh(Exhibit9)e.g.whyshewasaskedto REapplyfor
                                                       5
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   herapproved position,whyshewasnotaffordedinformalopportunityofadjustment,mostimportantly
   how academ ic negligence can be alleged before the receiptof The Appointm entLetterand starting to
  w ork? Dr.W utoh did notaddress Plaintiffquestions,therefore Dr.Aufdid notand continues notto have
  justopportunityto representherselfintheentiretyofthisComplaint.
44.Dr.Aufneverreceived TheAppointm entLetterand neverstarted to w ork.Therefore,no academ ic
   negligence can be alleged.Thus,the stated reason ism erely pretextual.
45.PlaintiffsentaIettertoDr.W ayneFrederick(thepresident)dated March18,2019fordefense,requested
   The Appointm entLetter& to be instated im m ediately.AnotherIetterw as sentto the head ofthe grievance
  comm ission (Dr.Alfred M arcus).Dr.Aufsentseveralemailsand afinaldemand letterto Dr.Frederick.
  (Exhibit10)Noresponsewasobtainedtodate.
46. On April1,2019 DrW utoh refused Dr.Auf'srequestforThe Appointm entLetterw hich w assentto Dr.
  Frederickon March26,2019.(Exhibit10)Thisdecisionviolateds2.8.5C & s2.8.5.1D ofHowardUniversity
  faculty handbookthatallowsfacultyto workwith fullpay untilfinaldeterm ination.
47.Dr.Aufmadearecord requestto Dr.Wutoh,repeateditto Dr.Frederick,andDr.Marcus.(Exhibit9& 10)
  Shedid notreceivethesoughtrecords;denying Plaintiffjustopportunityfordefense.
48.BackonNovember18,2018DrCatchingsaskedDr.AuftoteachhumananatomyintheSpring.(Exhibit5)
  Dr.Aufrequested the syllabus to prepare the course,he did notrespond.Afterarrivalto the Departm ent,
  he m entioned thiscourse w as notoffered in the Spring.
49.OnJanuary22,2019 Dr.Catchingsasked Dr.Aufto teach acoursethatwasbeingtaughtbyadjunct
  faculty Dr.MelissaDucheneadaybeforetheclassdate.(Exhibit5)
50. The fact he assigned Dr.Aufa class thatw illnotbe offered in Spring & inform ed hervery late aboutthe
  classthatisbeingoffered& taughtbyDrDuchene(whowasawareofthecourseintherighttime).
51.Dr.Aufresponded(Exhibit6);requestingjustificationfortherequestto REapplyandreasonabletimeto
  prepare forthe course.Dr.Catchingsneglected to respond.
52. Atany occasion,Dr.Aufw as unable to teach orw ork ataIIbecause the University w as w ithholding The
  Appointm entLetter.Dr.Catchings very Iate course assignm entrequestseem ed a pretextto falsely allege
  the academ ic negligence background asw illdevelop later.
53.Dr.Aufspentherentire lifeto betrained asan academic.Defendantsactingtogetherand separately
  defrauded Plaintiffofone-yearem ploym ent,associated earnings,and dam ages are continuing. The no
  em ploym entgap and the allegationsofacadem ic negligence w illocclude Plaintifffuture academ ic career
  asno University w illhire herunderthese circum stances.

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54.Plaintiffm ade sincere effortsto resolve m attersw ith Defendants atno avail.Plaintiffraisesthis action in
  good faith afterexhausting aIIopportunities.
55.PlaintiffincorporatesaIICom plaintand Counts paragraphs asiffully setforth undereach Iisted count.
                                   COUNT 1:NELIGANCE & HARASSM ENT
(Defendants:DrsEdna M edford.Antonv W utoh.W avne Frederick.RobertCatchings,Howard Universitv)
56.Defendantsowe a duty ofcare to Plaintiffas directsupervisors and seniorofficialsw ho should have
  facilitated herstartofw orking on the defined date;should have offered opportunitiesto avoid term ination
  by informaladjustm ents;whichtheyintentionallyneglected,thatno reasonable personwould havedone
  whattheydid orfollowedthe sam ecourseofactionsthey followed.
57.Dr.Catchingsneglected hisduty ofcare to assign Dr.Aufa course to teach and allow adequate tim e to
  prepare.He neglected his duty to clarify the onboarding and the requestto REapply thatled to Plaintiff
  term ination.Given the said reason ofterm ination is academ ic negligence,his negligence contributed
  m assively to Plaintiff's irreparable harm .As a departm entchair,he had a duty ofcare to ensure Dr.Auf
  received herpaperw ork before the startdate on August 16,2018 and advised herby the need ofthe
  presidentsignedappointmentIetterbeforerelocationandstarting(hehadconstructivenoticeofthe
  issues).He neglected warning Dr.AufthatherIatearrivalatcampusm ightcontributeto anegative
  decision against her,w hije she notified him ofpossible delay.
58.Dr.M edford neglected herduty ofcare by doing the follow ing:Intentionally delayed the finalofferIetter
  for2 weeks before the startdate to im pede Plaintiff's ability to relocate from M iam ito DC and startin
  time;Neglected Dr.Auf'srepeated emailsseeking TheAppointm entIetterto startasdefined and delayed
  herstartforpretextualreasons.;Neglected to address Dr.Aufrepeated inquires aboutthe onboarding and
  therequesttoREapply;Asked associatedean(Dr.Foster)toconveytoPlaintiffthatthisisan
  adm inistrative m atterthatdoesnot require herattention,then initiated term ination againstPlaintiffbased
  on those events i.e.Neglected to w arn Dr.Aufthis m ightIead to term ination and resolve the m atter;
  Neglected to offeropportunitiesto resolve m atters before such drastic m easure asthe term ination;She
  refused to m eet Dr.Aufbefore initiating the term ination,w hile she had a caring duty to resolve m atters;
  She instructed Dr.Aufto arrive atCam pus by January 14,2019 to attend the orientation and Iive in DC on
  herexpenses,then initiated unjustterm ination withoutpay.
59.Dr.W utoh,asthe Provostand ChiefofAcadem ic Officerhad a duty ofcare w hich he neglected by doing
  the follow ing:Neglected to explain to Dr.Aufw hy she was m andated to apply forherapproved position
  and allow timeto resolvethism atterbefore advancingthe matterto the president;Neglected to correct
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  thedelayinreceivingtheappointmentIater(despitehisawareness)andrefused Plaintifflaterrequestto
  receive the appointm entIetter;Had constructive notice that Dr.M edford m isinform ed Plaintiffstating that
  the appointm entIettersigned by heristhe finalappointm entdocum entation and neglected his duty to
  correctthis w rongdoing;Neglected to offerinform alopportunityto resolve m attersdespite Dr.Auf's
  sincere w ish to resolve m attersasconveyed to him and progressed the m atterto the president;Neglected
  to provide the records Dr.Aufrequested from him to understand the followed procedure and reasonsin
  progressing the term ination;Neglected to provide Plaintiffthe prelim inary decision ofterm ination signed
  by the presidentand senta lettersigned by him ,blinding Plaintifffrom the reasons ofthis decision.
60.How ard University President,Dr.Frederick,hasthe top authority to correctthe Com plaintw rongdoings,
  yethe neglected hisduty ofcare by:Neglecting his duty to send PlaintiffThe Appointm entLetterto enable
  herem ploym ent;Neglecting hispow erto reverse the term ination despite the Plaintiff's several
  representationsand falsified cause;Neglectingto afford Plaintiffinformaladjustm entto resolve matters;
  Neglecting to provide hisdecision and sought recordsto Plaintiff;Neglected Plaintiffcom plaintagaihst Dr.
  W utoh and furtherreferred m attersto him to decide i.e.apparentbias;Neglecting the Plaintiff's request
  to w ork untila finaldeterm ination to be m ade w hile he had a duty ofcare to reduce dam ages.
61.Defendantsareseniorofficers;theirnegligence isproxyto Howard University negligence.
62.The collective,and separate,negligence ofDefendants caused Plaintiffto Iose em ploym entand earnings
  w ith continuous harassm entthatput Plaintiffinto stressand dam ages.
                                COUNT 2:FRAUD,DEFRAUD.CO NSPIRACY
(Defendants:DrsEdna M edfordyAntonv W utoh,W avne Frederick.RobertCatchings,Howard Universitv)
63.Defendants,jointlyandseparately,collaboratedwithknownand unknownindividuals,andconspiredina
  schem e ofw rongdoings and intentionaldeceitfrom June 25,2018 and continuing leading Plaintiffto
  com m itherselfto w orking atThe Universitythen prevented herstartofem ploym enton August16,2018
  and continuing,defrauding Plaintiffofem ploym ent,earnings,and caused dam ages.
64.Defendants,jointly and separately,withheld TheAppointmentLetterand deceived thePlaintiffto arrive at
  cam pusw ithout having herappointm ent Ietterbeforehand to facilitate theirplanned term ination without
  herbeing even able to startworking;aIIhad constructive notice oractively shared.
65.Defendants had a constructive notice ofPlaintiffbeing m andated to REapply.Defendants initiated and
  progressed a falsified cause ofterm ination afterPlaintiffinquiry on the groundsofsuch request.Should
  Plaintiffcom plied and accepted theadditionalapplication,Defendantscould have rejected em ploying Dr.
  Auf,becausetheIanguage allowssuch possibility,whilethey failedto justifythisrequest.
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66.Dr.Catchingsassigned Plaintiffearliera course thatw illnotbe offered,then one day before classdate he
  assignedanew course(whilehavingconstructivenoticeoftherequestto REapplyandPlaintiff
  appointmentIetterbeingwithheld)tofacilitatefalsifyingtheacademicnegligenceterminationscenario.
67.The lettersigned by Dr.M edford claim ing thatno furtherappointm ent docum entation w illbe forthcom ing
  is a proofofintentionaldeceit,since the appointm entIettersigned by the presidentshould have been
  offered to the Plaintiffbefore the defined startdate ofAugust 16,2018.
68.Defendants collectively,and separately,did notcorrect Dr.M edford's deceitfulclaim son The
  Appointm entLetterafterconstructive notice and progressed falsified term ination asa coverup.
69.Defendants collectively and separately continue to conspire to defraud Plaintifffrom em ploym entand
  earnings,blind herfrom Com plaintbackground,w ithoutshow ing any attem ptofgood faith to resolve
  m atters,despite severalPlaintiffattem ptsto do so.Reference is m ade to entirety ofthis Com plaint.
                                       CO UNT 3:VICARIOUS LIABILIR

                 (Defendants:DrsW avne Frederick.Antonv W utoh and Howard Universitv
70.AtaIItimesm aterial,Defendantsnotincluded inthiscount(and othersknown and unknown)were
  em ployed by How ard University and underdirectsupervision ofDr.W ayne Frederick,President,and Dr.
  Antony W utoh,Provost,and controlwhen com m itted the w rongfulacts described herein.Those
  individuals(knownandunknown)engagedinthisconductwhileinthecourseand scopeoftheir
  employmentand/oractedinnegligencetotheirdutyofcare,collaboratedandconspired indeceitful
  conductsto harass& defraud Plaintiffofem ploym entand earningsbyvirtueoftheirjob-created authority.
  OtherDefendantsw rongfulacts were foreseeable and Dr.Frederick and Dr.W utoh had constructive
  notice,and contributed,to those w rongfulacts and neglect.Defendants in this countare Iiable forthe
  wrongfulconductofthecollectiveandseparatewrongdoingsofotherDefendants(Iistedinthiscomplaint
  orunknown)underthelaw ofvicariousIiability,includingthedoctrineofRespondeatSuperior.
                                      CO UNT 4:BREACH OF CO NTRAW
                                       (Defendant:Howard Universitv)
71. How ard University is in breach ofcontractw ith Dr.Aufhaving failed to fulfillthe w ritten agreem ent
  between parties(discussionsstarted June 2018 and werefinalized inthe IetterofAugust1,2018,which Dr.
  AufsignedonAugust2,2018)andhavingfailedtoapplytheappointmentandterminationprocedureas
  detailedinTheHandbook(whichitssectionsarereferredtointheComplaint).
72. Appointm entnrocedure:having failed to deliverThe Appointm entLetter before August16,2018 to date;
  Delayed Dr.Aufstartdate from August16,2018 to January 2019 forpretextualreasons;Required Dr.Auf
                                                       9
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  to subm itadditionalapplication thatw as notIisted in the offerletterviolating The Handbooks.2.7.29didn't
  offerofficespaceuponarrivaltocampus(breachofwrittenagreement).
73. Term ination procedure:having initiated & progressed term ination foracadem ic negligence,because:
74.She neverreceived TheAppointm entLetterand neverstarted to w ork i.e.term ination cannotbe initiated
  forany cause before she isfully em ployed,assigned duties,and started w orking.
75.Dr.Catchings assigned Dr.Aufa classthatwillnot be offered in the Spring,then assigned a new classone
  daybeforetheclassdate;violatingSection2.7.71a)ofTheHandbookwhich requiresfairnessinteaching
  assignm ents.In the m ind ofany fair-m inded person,itwould be unfairto require a professorto teach a
  new course one day before the class date.Therefore,despite plaintiffw as unable to teach because she did
  not receive The Appointm entLetterand the HR failed to offerthe onboarding process as described,such
  sudden assignmentwould be unjust,hence in breach ofcontract.
76.How ard University failed to apply the term ination procedure asdescribed in The Handbook because:
  1)Dr.Aufneverreceivedaclearwarningthatheremploymentisinjeopardystatingwsongdoingwithtime
  forcorrectionviolatings2.8.5A (Dr.Catchings& Dr.Medfordshould havedoneso inacademicmatters);
  2)The Dean(Dr.Medford)did notmeetDr.AufwiththeDepartmentChair(Dr.Catchings)violating
  s2.8.5.1 B,given the allegations ofacadem ic negligence,to resolve m atters;
  3)Dr.Medforddidn'taffordinformalopportunityto resolvemattersviolatings2.8.5.1B;
  4)Dr.Medforddid notofferwrittenreasonsforterminationandanopportunityforrepresentation before
  subm itting herrecom m endation forthe provostviolating s.2.8.5 A;
  5)Dr.Medfordwaswrongto submittheterminationrecommendationtotheprovost,Dr.W utoh,whilehe
  isnotIisted intheterminationprocedureasadecisionmaker);
  6)Dr.W utohandDr.Medfordwrongedtofurthertherecommendationofterminationtothepresident
  withoutaffording Dr.Aufan opportunityforinformaladjustmentand explaining whatwrong she hasdone
  in contextofhersubm itted representation,albeit Plaintiffadm its no wrong,violating s.2.8.5 A & s2.8.5.1 B;
  7)Dr.W utohobstructedjustopportunityfordefensebysendingaIettersignedbyhim (notthepresident)
  w ithout showing the reasonsforw hich the president m ade prelim inary decision ofterm ination after
  considering Dr.Auf's defense;
  8)Dr.W utohrefused Plaintiff'srequesttoreceiveherappointmentIetterandtoworkuntilafinal
  term ination decision to be m ade violating s2.7.2,s2.8.5 C & s2.8.5.1 D;
  9)Dr.CatchingsrefusedtoofferDr.Aufanofficespacetoworkuntilafinalterminationdecisiontobe
  m ade violating s2.7.2,s2.8.5 C & s2.8.5.1 D;

                                                      10
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  10)Thepresident,Dr.Frederick,hadconstructivenoticeoftheissues,yet:didnotadjustthematter;did
  notprovide reasonsforhispreliminary decision;did notprovide the appointmentIetter;did notallow Dr.
  Aufto w ork asshe requested untilfinaldeterm ination.The presidentprelim inary term ination decision is
  pending finaldecision by the presidentafterconsidering m atters,Dr.Frederick Iack ofresponse,provision
  ofreasonsforhispreliminarydecision,failuretoprovideaninformaladjustmentopportunity,andfailure
  to acton his stated role in the term ination to reverse itIeft Dr.Aufw ithoutem ploym entto date and
  irreparable harm violating s2.7.2,2.8.5.1 B,s2.8.5 C & s2.8.5.1 D;
  11)Thegrievancecommissiondidn'trespondtoDr.Aufsubmissionoroffered Dr.Aufahearingoranyjust
  opportunity to defend herselfagainstthe term ination allegation violating s2.8.5.1 E & F.
77.PlaintiffIostemploymentandearningsofexcessof$100,00ofoneyearearning& Iossiscontinuing.
                                                  RELIEF
W HEREFORE,Plaintiffdemandsjudgem entagainstDefendantsindividually,jointly,and Severally:
(1)OrderofinstatementforPlaintiffatHoward Universityastenuretrackassociateprofessor.Noacademic
   institution w illhire PlaintiffafterDefendants'false allegationsand one yearw ith no em ploym entand
   continuing.Therefore,reinstatementisthe onlyjustrem edyforfuture relief.
(2)To paythePlaintiffIostearningsinanamountinexcessof$100,000plusadditionalearningIosstothe
   dateofinstatementi.e.backpay andfrontpay,$31.518.95 forresearchsupport,feesincurred,interest&
   damagesaswillbedetailed(damagesareaccruing,hencecannotbeIimitedtothispointoftime);
(3)OrderplacingPlaintiffinthepositionthatshewouldhavebeeninhadtherebenoviolationsofherrights;
(4) Orderenjoining/restrainingDefendantsnotto retaliateorcreatehostileenvironmentforPlaintiff;
(5) SuchotherandfurtherreliefastheCourtdeemsjustandappropriateafterajurytrial.
                                         RESERVATIO N O F RIGHTS
Plaintiffreserves the rightto furtheram end this Com plaint,upon com pletlon ofits investigation and
discovery,to assert any additionalclaim sforreliefagainst Defendantsorotherpartiesasm ay be w arranted
underthe circum stancesand as allow ed by Iaw .


Respectfully subm itted,   ,


Signature ofPlaintiff:                                     Date ofsigning:M ay 21,2019
Printed Nam e of Plaintiff:Dr.Rehab Auf
AddressofPlaintiff:15300 SW 74 PL,Palm etto Bay,FL 333157




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